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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                               EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division


 LOUIS A. PICCONE,                                     )
                                                       )
                 Petitioner,                           )
                                                       )
         V.                                            )       1:18-CV-00307(LMB/IDD)
                                                       )
  UNITED STATES PATENT AND                             )
    TRADEMARK OFFICE,et al..                           )
                                                       )
                 Respondents.                          )

                                    MEMORANDUM OPINION


        Louis A. Piccone ("Piccone"), acting pro se. filed this Petition^ to review a decision of

 the United States Patent and Trademark Office("PTO")suspending Piccone's license to practice

 before the PTO for a period ofthree years. Piccone asks the Court to vacate the PTO's decision

 as arbitrary or capricious, an abuse of discretion, or not in accordance with law. He also seeks

 declaratory relief as well as damages against unnamed PTO employees^ under Bivens v. Six
 Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388(1971). The Petition has

 been fully briefed and is now ripe for decision, and the Court finds that oral argument would not

 aid the decisional process. For the reasons that follow, the Petition will be dismissed.


'Piccone has actually filed two petitions. The first, filed on March 12, 2018 [Dkt. No. 1], was
 only three pages long and was accompanied by a letter oftransmission [Dkt. No. 1-1] stating that
 the filing was a "preliminary version" to be followed by a more complete petition. The second,
 filed two days later [Dkt. No. 2], was styled as a"Combined Petition ... and Complaint," and
 altogether—including the petition itself and its nine attachments, which contain additional
 briefing and which Piccone asserts are "incorporated into [the] Petition as though set out in
 full"—spanned over 200 pages. Consistent with the parties' briefing, the second petition will be
 treated as the operative one in this action.
 ^ Piccone's initial petition named as respondents Andrei lancu, in his capacity as Under
 Secretary of Commerce for Intellectual Property and Director of the PTO; William Covey; and
 ten unnamed individuals. His second petition identified only the PTO and ten unnamed
 individuals now identified as PTO employees.
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